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                                 Exhibit 5



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
                 Case 1:01-cv-12257-PBS Document 6528-6 Filed 09/22/09 Page 2 of 5
Wells, Jerry - May 25, 2004 09:04:00 a.m.




  419:1        IN THE CIRCUIT COURT OF THE

       2                         SECOND JUDICIAL CIRCUIT,

       3                     IN AND FOR LEON COUNTY, FLORIDA

       4                                    CASE NO. 98-3032A

       5     THE STATE OF FLORIDA, ex rel,

       6     VEN-A-CARE OF THE FLORIDA

       7     KEYS, INC., a Florida

       8     corporation, by and through

       9     its principal officers and

      10     directors, ZACHARY T. BENTLEY

      11     and T. MARK JONES,

      12                  Plaintiffs,                           VOLUME 4

      13     vs.                                           PAGES 419 - 617

      14     BOEHRINGER INGELHEIM

      15     CORPORATION; DEY, INC.; DEY,

      16     L.P.; EMD PHARMACEUTICALS,

      17     INC.; LIPHA, S.A. MERCK, KGaA;

      18     MERCK-LIPHA, S.A.; SCHERING

      19     CORPORATION; SCHERING-PLOUGH

      20     CORPORATION; ROXANE

      21     LABORATORIES, INC., and

      22     WARRICK PHARMACEUTICALS

      23     CORPORATION,

      24                  Defendants.

      25     ______________________________




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Wells, Jerry - May 25, 2004 09:04:00 a.m.




  420:1      CONTINUED VIDEOTAPED

       2     DEPOSITION OF:                    JERRY WELLS

       3     TAKEN AT INSTANCE OF:             The Defendants

       4     DATE:                             May 25, 2004

       5     TIME:                             Recommenced at 9:04 a.m.

       6                                       Adjourned at 4:00 p.m.

       7     LOCATION:                         215 S. Monroe Street

       8                                       Tallahassee, Florida

       9     REPORTED BY:                      SANDRA L. NARGIZ

      10                                       Certified Realtime Reporter

      11                  ACCURATE STENOTYPE REPORTERS, INC.

      12                         2894 REMINGTON GREEN LANE

      13                TALLAHASSEE, FL      32308   (850)878-2221

      14                                                                  420

      15     APPEARANCES:

      16                  REPRESENTING DEY, INC., DEY LP, EMD

      17                  PHARMACEUTICALS:

      18                  WILLIAM A. ESCOBAR, ESQUIRE

      19                  ANTONIA F. GIULIANA, ESQUIRE

      20                  KELLEY DRYE & WARREN

      21                  101 Park Avenue

      22                  New York, NY      10178

      23                  212-808-7800

      24                  KELLY OVERSTREET JOHNSON, ESQUIRE

      25                  BROAD & CASSEL




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  433:1             Q     And the WAC price as used in Exhibit 58 would

       2     be the invoice price from the manufacturer to a

       3     wholesaler?

       4            A     I think so.

       5            Q     And again, that invoice price would not

       6     include charge backs or discounts that may happen

       7     subsequent to the invoicing; is that right?

       8                  MR. AZORSKY:       Object to the form.

       9                  MS. MILLER:       Object to the form.

      10                  THE WITNESS:      I don't think so.

      11     BY MR. ESCOBAR:

      12            Q     Now is the example that appears on Exhibit 58,

      13     is that an example that relates to brand drugs or

      14     generic drugs?

      15            A     It did not differentiate between brand or

      16     generic.     It was an example to explain to a legislator

      17     who was not familiar with the prescription drug industry

      18     what the different acronyms related to and where their

      19     relative position would be in a hypothetical example.

      20            Q     And in connection with -- so, is the example

      21     on Exhibit 58, is that an example that from your

      22     standpoint applies equally to either to brand drugs or

      23     to generics?

      24            A     It was not used in that way.      It was used to

      25     explain to a legislator who was not familiar with




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Wells, Jerry - May 25, 2004 09:04:00 a.m.




  434:1      prescription drug pricing what the relative values of

       2     the acronyms that are used meant.

       3             Q    With respect to the AWP 25 percent suggested

       4     markup, is that a markup that applies to just brand

       5     products?

       6                  MR. AZORSKY:       Object to the form.

       7                  MS. MILLER:       Same.

       8                  THE WITNESS:       I don't know.

       9     BY MR. ESCOBAR:

      10            Q     Do you know whether there is any difference in

      11     the pricing between -- is there any difference as far as

      12     you understand it between pricing of generics and brand

      13     price?

      14            A     I have seen information that would indicate

      15     that there is.

      16            Q     Okay.     And what information do you have in

      17     mind?

      18            A     For some companies.       For some companies there

      19     does not appear to be a lot of difference and other

      20     companies there does appear to be a difference.

      21            Q     And with respect to companies where there does

      22     appear to be a difference between brand and generic,

      23     what is the difference as you understand it?

      24            A     It can be greater than 25 percent.

      25            Q     That is the difference between a WAC price and




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